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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

 POSCO,
                      Plaintiff,
                    and
                                                    Before: Hon. Jennifer Choe-Groves,
 NUCOR CORPORATION,                                         Judge
                     Consolidated Plaintiff,
                    v.                              Consol. Court No. 16-00227

 UNITED STATES,
                      Defendant,
                    and
 STEEL DYNAMICS, INC., et al.,
                         Defendant-Intervenors.

                                      NOTICE OF APPEAL
       Notice is hereby given that Nucor Corporation, Consolidated Plaintiff and Defendant-Intervenor

in the above-named case, appeals to the United States Court of Appeals for the Federal Circuit from

the decision, order, and judgment of the U.S. Court of International Trade entered in this action,

POSCO v. United States, Consol. Ct. No. 16-00227, slip op. 22-65 (Ct. Int’l Trade June 13, 2022),

ECF No. 135; Judgment Order, Consol. Ct. No. 16-00227 (Ct. Int’l Trade June 13, 2022), ECF No. 136.

                                                     Respectfully submitted,

                                                     /s/ Alan H. Price
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Dated: August 12, 2022
